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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

 SHANNON O’NEILL,                                   )   Case No.
                                                    )
                        Plaintiff,                  )
                                                    )
        v.                                          )   COMPLAINT FOR
                                                    )   VIOLATIONS OF THE
 EMAGIN CORPORATION, ERIC                           )   FEDERAL SECURITIES LAWS
 BRADDOM, PAUL CRONSON, ELLEN                       )
 RICHSTONE, ANDREW G. SCULLEY,                      )   JURY TRIAL DEMANDED
 STEPHEN M. SEAY, and JILL J. WITTELS,              )
                                                    )
                        Defendants.                 )

       Plaintiff Shannon O’Neill (“Plaintiff”), upon information and belief, including an

examination and inquiry conducted by and through her counsel, except as to those allegations

pertaining to Plaintiff, which are alleged upon personal belief, alleges the following for her

Complaint:

                                 NATURE OF THE ACTION

       1.       Plaintiff brings this action against eMagin Corporation (“eMagin” or the

“Company”) and its corporate directors for violating Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities

and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule 14a-9”), in

connection with the proposed acquisition of the Company by Samsung Display Co., Ltd.

(“Samsung”).1

       2.       On June 14, 2023, eMagin entered into an Agreement and Plan of Merger (the

“Merger Agreement”) with Samsung, Samsung’s wholly owned subsidiary Emerald



1 The proposed business combination described herein is referred to as the “Proposed

Transaction.”
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Intermediate, Inc. (“Silk USA”) and Silk USA’s wholly owned subsidiary Emerald Merger Sub,

Inc. (“Merger Sub”). The Merger Agreement provides that eMagin stockholders will receive

$2.08 in cash per share of Company common stock in connection with the Proposed

Transaction.

       3.      The Company’s corporate directors subsequently authorized the July 20, 2023,

filing of a materially incomplete and misleading Schedule 14A Definitive Proxy Statement (the

“Proxy Statement”) with the SEC. The Proxy Statement, which recommends that Company

stockholders vote in favor of the Proposed Transaction, omits or misrepresents material

information necessary and essential to that decision. Defendants authorized the issuance of the

false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange

Act.

       4.      It is imperative that the material information omitted from the Proxy Statement

is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote so that

they can properly exercise their corporate suffrage rights, among other things.2

       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to the Company’s stockholders or, in the

event the Proposed Transaction is consummated, to recover damages resulting from the

defendants’ violations of the Exchange Act.

                              JURISDICTION AND VENUE

       6.      This Court has jurisdiction over the claims asserted herein for violations of


2 The Special Meeting at which stockholders are asked to approve Proposed Transaction

currently is scheduled for August 31, 2023.



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Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder

pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal

question jurisdiction).

       7.      Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District or is an individual with

sufficient minimum contacts with this District to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

       8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District.

                                         THE PARTIES

       9.      Plaintiff is, and has been at all times relevant hereto, the owner of eMagin

common stock.

       10.     Defendant eMagin is a Delaware corporation with its principal executive offices

located at 700 South Drive, Suite 201, Hopewell Junction, New York 12533. eMagin’s shares

trade on the NYSE American under the ticker symbol “EMAN.” eMagin designs, develops,

manufactures and markets organic light emitting diode (“OLED”) miniature displays, which

eMagin refers to as OLED-on-silicon microdisplays, virtual imaging products that utilize

OLED microdisplays, and related products. eMagin also performs research in the OLED field.

The Company is one of the leading U.S. producers of OLED microdisplays and manufactures

its products at its facility located in the Hudson Valley of New York State. The Company’s

virtual imaging products integrate OLED technology with silicon chips to produce high-

resolution microdisplays which, when viewed through a magnifying headset, create virtual

images that appear comparable in size to that of a computer monitor or a large-screen television.



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eMagin’s products enable its original equipment manufacturer (“OEM”) customers in the

military, consumer and commercial markets to develop and market improved or new electronic

products. The Company considers itself a leader in display brightness and resolution due to its

proprietary Direct Patterning Technology (“dPd”). Unlike traditional OLED microdisplays that

produce colors by using a white source with filters that eliminate about 80% of the emitted

light, with dPd the Company makes full color displays by directly depositing each of the

primary color materials on respective sub-pixels, without the use of filters.

       11.     Defendant Eric Braddom is and has been a director of the Company at all times

relevant hereto.

       12.     Defendant Paul Cronson is and has been a director of the Company at all times

relevant hereto.

       13.     Defendant Ellen Richstone is and has been a director of the Company at all times

relevant hereto.

       14.     Defendant Andrew G. Sculley is and has been Chief Executive Officer and a

director of the Company at all times relevant hereto.

       15.     Defendant Stephen M. Seay is and has been a director of the Company at all

times relevant hereto.

       16.     Defendant Jill J. Wittels has been Chair of the Board and a director of the

Company at all times relevant hereto.

       17.     Defendants identified in paragraphs 11-16 are collectively referred to herein as

the “Board” or the “Individual Defendants.”




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                           SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

      18.    On May 17, 2023, the Company announced in relevant part:

      HOPEWELL JUNCTION, N.Y., May 17, 2023 (GLOBE NEWSWIRE) --
      eMagin Corporation (NYSE American: EMAN) (“eMagin” or the “Company”),
      a U.S.-based leader in the development, design, and manufacture of Active-
      Matrix OLED microdisplays for high-resolution, AR/VR and other near-eye
      imaging products, today announced that the Company has entered into a
      definitive merger agreement with Samsung Display Co., Ltd. (“Samsung
      Display”), a subsidiary of Samsung Electronics Co., Ltd. (KRX: 005930) and
      manufacturer and distributor of display products. Under the terms of the
      agreement, all outstanding shares of eMagin common stock on a fully diluted
      basis will be acquired for $2.08 per share in cash, in a transaction valued at
      approximately $218 million.

      The purchase price represents a premium of approximately 10% to eMagin’s
      closing stock price of $1.89 on May 16, 2023, and a premium of approximately
      24% to eMagin’s six-month volume-weighted average price of $1.68.

      “This agreement is a validation of our technical achievements to date including
      our proprietary direct patterning (dPd) technology, provides a significant
      premium for our shareholders, and represents a win for our customers and
      employees,” said Andrew G. Sculley, eMagin’s Chief Executive Officer. “By
      teaming with Samsung Display, we will be able to achieve the full potential of
      our next-generation microdisplay technology with a partner that can provide the
      resources and expertise we will need to scale production. Moreover, our
      customers will benefit from resulting improvements to our production
      capabilities in terms of yield, efficiency, and quality control.”

      President & Chief Executive Officer of Samsung Display, Joo Sun Choi,
      emphasized the strategic significance of the acquisition, stating, “We expect XR
      (Extended Reality) devices to have significant potential of growth in the future,
      and eMagin’s technology in this space will enable Samsung to offer innovative
      products to more customers and strengthen its XR-related business.”

      Following the closing of the transaction, eMagin will continue to maintain its
      operations and facilities in Hopewell Junction, NY.

      Approvals and Timing

      eMagin’s Board of Directors has unanimously approved the transaction and is
      recommending that eMagin’s stockholders approve the transaction and adopt the



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       merger agreement at a special meeting of stockholders to be called in connection
       with the transaction. Certain of eMagin’s stockholders who collectively hold
       approximately 98% of the total voting power of eMagin’s Series B Convertible
       Preferred Stock, which is convertible into approximately 21% of the total voting
       power of eMagin’s common stock on a fully diluted basis, have entered into a
       support agreement pursuant to which they have committed to vote such shares
       in favor of the transaction.

       The transaction is expected to close in the second half of 2023, subject to the
       approval by eMagin’s stockholders, applicable regulatory approvals and other
       customary closing conditions. Until closing, eMagin and Samsung Display
       remain separate and independent companies.

       Advisors

       Nomura Securities International, Inc. is serving as exclusive financial advisor to
       eMagin. White & Case LLP and Goodwin Procter LLP are acting as the
       Company’s legal counsel. Evercore Inc. is serving as exclusive financial advisor
       to Samsung Display and O'Melveny & Myers LLP is acting as legal counsel.

The Materially Incomplete and Misleading Proxy Statement

       19.    The Board caused to be filed the materially incomplete and misleading Proxy

Statement with the SEC on July 20, 2023 The Proxy Statement, which recommends that

eMagin stockholders vote their shares in favor of the Proposed Transaction, fails to disclose

material information to Company stockholders, or provides them with materially misleading

information, concerning: (a) the Company’s financial forecasts; (b) the financial analyses

underlying the fairness opinion provided by the Company’s financial advisor, Nomura

Securities International, Inc. (“Nomura”); and (c) potential conflicts of interest faced by

Nomura and Company insiders.

Material Misrepresentations and/or Omissions Concerning the Financial Forecasts for
eMagin

       20.    The Proxy Statement fails to disclose material information concerning the

Company’s financial forecasts, including those used by Nomura in connection with its financial




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analysis.3 Specifically, the Proxy Statement fails to disclose: (a) when the Board approved the

Base Case Forecast for Nomura’s use in connection with rendering its fairness opinion; and (b)

whether any revisions were made to the Base Case Forecast between November 7, 2022 and

May 16, 2023, the date the Board approved the Merger Agreement and Nomura rendered its

fairness opinion, and if so, a summary thereof.

       21.     The Proxy Statement further fails to disclose the line items underlying both

Adjusted EBITDA and Unlevered Free Cash Flow (Burdened by Stock Based Compensation)

with respect to the “Base Case Forecast” and “Illustrative Upside Case Forecast” previously

described herein.

       22.     The Proxy Statement also fails to disclose the projected segment revenue for

each of the Company’s dPd and WOLED+CF technologies with respect to the “Mass

Manufacturing Contribution Analysis” forecast previously described herein.

Material Misrepresentations and/or Omissions Concerning Nomura’s Financial Analyses

       23.     The Proxy Statement fails to disclose material information concerning Nomura’s

financial analyses.

       24.     With respect to both the Discounted Cash Flow Analysis – Base Case and the



3 Company management spoke with Nomura on November 7, 2022, regarding the financial
information that management had prepared. Proxy Statement at 38. During that meeting, the
parties to the call discussed: (a) a “base case” forecast (“Base Case Forecast”), (b) an
illustrative case forecast assuming additional revenues and profits in the future from licensing
the Company’s dPd and WOLED+CF technology (the “Illustrative Upside Case Forecast”) and
(c) an analysis, from the perspective of a potential acquirer or strategic manufacturing partner,
of the Company’s technologies (the “Mass Manufacturing Contribution Analysis”). Id.
Subsequently, on November 18, 2022, the Board approved the Base Case Forecast, Illustrative
Upside Case Forecast, and Mass Manufacturing Contribution Analysis “and directed Nomura
to use the Base Case Forecast for the preparation of its preliminary financial analyses.” Id. at
39.



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Discounted Cash Flow Analysis – Illustrative Case performed by Nomura, the Proxy Statement

fails to disclose the Company’s terminal values.

       25.     With respect to the Analysis of Implied Premia performed by Nomura, the Proxy

Statement fails to disclose both the identities of the transactions observed and the respective

premium observed for each.

Material Misrepresentations and/or Omissions Concerning Nomura’s and Company
Insiders’ Potential Conflicts of Interest

       26.     The Proxy Statement fails to disclose material information concerning potential

conflicts of interest faced by Nomura, including the details of any services Nomura provided to

Stillwater Holdings LLC, MDAS 2012 Children’s Trust and Ginola Limited (collectively, the

“Supporting Stockholders”), or their respective affiliates, in the two-year period preceding its

fairness opinion on the Proposed Transaction, and any related compensation received by

Nomura.

       27.     The Proxy Statement also fails to disclose material information concerning

potential conflicts of interest faced by Company insiders, including whether any members of

Company management have secured, or are expected to secure, positions with the post-close

company.

       28.     The omission of the above-referenced information renders statements in the

“Certain Financial Projections,” “Opinion of Nomura,” “Background of the Merger,” and

“Interests of the Company’s Directors and Executive Officers in the Merger” sections of the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

       29.     Absent disclosure of the foregoing material information prior to the stockholder

vote, Plaintiff and the other stockholders of the Company will be unable to make a sufficiently




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informed decision in connection with the Proposed Transaction and are thus threatened with

irreparable harm warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                          COUNT I

 Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
              Thereunder Against the Individual Defendants and eMagin

          30.   Plaintiff repeats and realleges the preceding allegations as if fully set forth

herein.

          31.   The Individual Defendants disseminated the false and misleading Proxy

Statement, which contained statements that, in light of the circumstances under which they were

made, omitted to state material facts necessary to make the statements therein not materially

misleading, in violation of Section 14(a) of the Exchange Act and Rule 14a-9. eMagin is liable

as the issuer of these statements.

          32.   The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Proxy Statement.

          33.   The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

          34.   The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.


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           35.   The Proxy Statement is an essential link in causing Plaintiff and the Company’s

 stockholders to approve the Proposed Transaction.

           36.   By reason of the foregoing, defendants violated Section 14(a) of the Exchange

 Act and Rule 14a-9 promulgated thereunder.

           37.   Because of the false and misleading statements in the Proxy Statement, Plaintiff

 is threatened with irreparable harm.

                                            COUNT II

                  Claims for Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

           38.   Plaintiff repeats and realleges the preceding allegations as if fully set forth

 herein.

           39.   The Individual Defendants acted as controlling persons of eMagin within the

 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

 officers and/or directors of eMagin and participation in and/or awareness of the Company’s

 operations and/or intimate knowledge of the false statements contained in the Proxy Statement,

 they had the power to influence and control and did influence and control, directly or indirectly,

 the decision making of the Company, including the content and dissemination of the various

 statements that Plaintiff contends are false and misleading.

           40.   Each of the Individual Defendants was provided with or had unlimited access to

 copies of the Proxy Statement alleged by Plaintiff to be misleading prior to and/or shortly after

 these statements were issued and had the ability to prevent the issuance of the statements or

 cause them to be corrected.




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        41.     Each of the Individual Defendants had direct and supervisory involvement in the

 day-to-day operations of the Company, and, therefore, is presumed to have had the power to

 control and influence the transactions giving rise to the violations as alleged herein and

 exercised the same. The Proxy Statement contains the unanimous recommendation of the

 Individual Defendants to approve the Proposed Transaction. They were thus directly involved

 in the making of the Proxy Statement.

        42.     By virtue of the foregoing, the Individual Defendants violated Section 20(a) of

 the Exchange Act.

        43.     As set forth above, the Individual Defendants had the ability to exercise control

 over and did control a person or persons who have each violated Section 14(a) of the Exchange

 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions

 as controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange

 Act. As a direct and proximate result of defendants’ conduct, Plaintiff is threatened with

 irreparable harm.

                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

 including injunctive relief, in her favor on behalf of the Company, and against defendants, as

 follows:

                A.     Preliminarily and permanently enjoining defendants and all persons

 acting in concert with them from proceeding with, consummating, or closing the Proposed

 Transaction and any vote on the Proposed Transaction, unless and until defendants disclose and

 disseminate the material information identified above to Company stockholders;

                B.     In the event defendants consummate the Proposed Transaction,



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 rescinding it and setting it aside or awarding rescissory damages to Plaintiff;

                 C.     Declaring that defendants violated Sections 14(a) and/or 20(a) of the

 Exchange Act;

                 D.     Awarding Plaintiff the costs of this action, including reasonable

 allowance for Plaintiff’s attorneys’ and experts’ fees; and

                 E.     Granting such other relief as this Court may deem just and proper.

                                        JURY DEMAND

        Plaintiff demands a trial by jury on all claims and issues so triable.

  Dated: August 10, 2023                                LONG LAW, LLC

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